           Case 18-15891-LMI       Doc 67     Filed 08/03/18    Page 1 of 1



                   UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION

IN RE:

MAURICE SYMONETTE                       CASE NO.: 18-15891-LMI
Debtor(s).                              CHAPTER: 7
__________________________/
                       CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 3rd day of August, 2018, I served a copy of the
Order Confirming No Automatic Stay in Effect (D.E. #65), on the parties listed below:
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

Joel L. Tabas
25 SE 2nd Avenue
Suite 248
Miami, FL 33131

Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
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                                                   Jeffrey Fraser, Esq.
                                                   Albertelli Law
                                                   Attorney for Secured Creditor
                                                   PO Box 23028
                                                   Tampa, FL 33623
                                                   Telephone: (813) 221-4743
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                                                   By: /s/ Jeffrey Fraser, Esq.
                                                   Jeffrey Fraser
                                                   Florida Bar No: 0085894




ALAW FILE NO. 18-017793
